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                         UNITED STATES BANKRUPTCY COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    SHERMAN DIVISION


IN RE:
Remarkable Healthcare of Carrollton, LP             Case No. 23-42098 btr
4501 Plano Parkway                                  Chapter: 11
Carrollton , TX 75010
EIN: XX-XXXXXXX
Debtor

                 ORDER SETTING 1-DAY DISMISSAL DEADLINE FOR FILING
                      REQUIRED MASTER MAILING LIST (MATRIX)

        On November 2, 2023 the above-referenced Debtor filed a voluntary petition seeking relief
under the above-referenced chapter of Title 11, United States Code. However, the Debtor have
failed, in violation of Federal Rule of Bankruptcy Procedure 1007(a)(1) and Local Rule of
Bankruptcy Procedure 1007(b)(1), to present to the Court at that time an alphabetized creditor list
which includes the name and last known mailing address for every listed creditor. The Court is of the
opinion that such an omission prevents creditors and parties in interest from receiving timely notice
of this bankruptcy filing and precludes the prompt scheduling of the meeting of creditors required by
11 U.S.C. §341(a). Thus, the failure of the Debtor to adhere to the requirements of the Federal and
Local Rules of Bankruptcy Procedure prevents the prompt administration of this case and constitutes
an unreasonable delay by the Debtor that is prejudicial to creditors. Thus, good cause exists for the
entry of the following order:
      IT IS THEREFORE ORDERED that the above-referenced Debtor shall file the required
Master Mailing List (matrix) within one (1) calendar day of the entry of this Order.
       IT IS FURTHER ORDERED that, in the event that the Debtor fails to file a Master Mailing
List (matrix) within one (1) calendar day of the entry of this Order, absent a further order of the
Court extending such deadline for cause shown, this case shall be dismissed, pursuant to §349(a) of
the Bankruptcy Code, without further notice or hearing and with prejudice to the rights of the
Debtor to file a subsequent petition under any of the provisions of Title 11, United States Code, for a
period of ninety (90) days from the entry of the order of dismissal.


                                            Signed on 11/03/2023

                                                                            SD
                                   HONORABLE BRENDA
                                   HONORABLE   BRENDA T.
                                                       T. RHOADES,
                                                          RHOADES,
                                   UNITED
                                   CHIEF  STATES
                                         UNITED   BANKRUPTCY
                                                STATES         JUDGEJUDGE
                                                       BANKRUPTCY
